                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


 SWISSDIGITAL USA CO., LTD.,

                Plaintiff,
                                                       Civil Action No. 6:23-cv-00196-ADA
        v.
                                                           JURY TRIAL DEMANDED
 SAMSONITE INTERNATIONAL S.A.,

                Defendant.


               DECLARATION OF NEIL J. MCNABNAY IN SUPPORT OF
             SAMSONITE INTERNATIONAL S.A.’S REPLY IN SUPPORT OF
             MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

       I, Neil J. McNabnay, declare as follows:

       1.      I am an attorney with the law firm of Fish & Richardson P.C., counsel of record for

Samsonite International S.A. I have personal knowledge of the facts stated herein, except those

that are stated on information and belief and can testify completely thereto.

       2.      Attached as Exhibit E to this declaration is a true and correct copy of Plaintiff

Swissdigital USA Co., Ltd.’s First Set of Interrogatories in Connection with Jurisdicational

Discovery to Defendant Samsonite International S.A., dated July 21, 2023.

       3.      Attached as Exhibit F to this declaration is a true and correct copy of Plaintiff

Swissdigital USA Co., Ltd.’s First Set of Requests for Production in Connection with

Jurisdicational Discovery to Defendant Samsonite International S.A., dated July 21, 2023.
       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed at Dallas, Texas, this 25th day of July, 2023.

                                                       /s/ Neil J. McNabnay
                                                       Neil J. McNabnay




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